      Case 1:22-cv-02234-EK-LB Document 83 Filed 01/17/24 Page 1 of 2 PageID #: 4256




                                         THE CITY OF NEW YORK
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                                                                    January 17, 2024


      Via ECF
      Honorable Eric Komitee
      United States District Court
      Eastern District of New York
      225 Cadman Plaza East
      Courtroom 6G North
      Brookyln, New York 11201
      New York, NY 10007

                      Re: Women of Color for Equal Justice et. al. v. City of New York, et. al.
                          Civil Action No.: 22-CV-02234
                          LM No.: 2022-021670

      Dear Judge Komitee:


                    I am an Assistant Corporation Counsel in the Office of Hon. Sylvia O. Hinds-Radix,
      Corporation Counsel of the City of New York, attorney for Defendants City of New York, Mayor
      Eric Adams, Department of Health and Mental Hygiene (“DOHMH”), and Commissioner Ashwin
      Vasan (collectively, “Defendants”), in the above-referenced matter. Defendants respectfully
      request the Court strike Plaintiffs’ Fourth Amended Complaint as untimely and dismiss this case
      with prejudice. Alternatively, Defendants request a fourteen (14) day extension of time, from
      January 22, 2024 to February 5, 2024, for Defendants to respond to the Fourth Amended
      Complaint. After filing Defendants’ earlier letter, Plaintiffs’ counsel reached out to the
      undersigned to consent to a two week extension. This is Defendants’ first request for an extension
      of time.

                    On January 10, 2024, the Court graciously granted Plaintiffs one final time to
      amend their complaint and emphasized that the Fourth Amended Complaint must be filed “on or
      before January 15” and for Defendants to renew their motion to dismiss via letter by January 22,
      2024. See ECF Docket Entry dated January 10, 2024 (emphasis added). Plaintiffs did not file their
      Fourth Amended Complaint on January 15. Instead, Plaintiffs filed their Fourth Amended
      Complaint on January 16, 2024 at 11:55pm. See ECF Dkt. No. 81. On January 17, 2024, Plaintiffs’
      counsel informed the undersigned that she forgot to file the entirety of the Fourth Amended
Case 1:22-cv-02234-EK-LB Document 83 Filed 01/17/24 Page 2 of 2 PageID #: 4257




Complaint and that the exhibits would be filed sometime on January 17, 2024. Thus, Plaintiffs
have failed to timely file their Fourth Amended Complaint and accompanying exhibits as ordered
by this Court. Notably, Plaintiffs never requested an extension of time to file their Fourth Amended
Complaint. Plaintiffs also cannot rely on the fact that January 15 was a federal holiday because
Rule 6, Federal Rules of Civil Procedure, does not apply when the Court sets a specific date on
which a party must file. See Miller v. City of Ithaca, 2012 U.S. Dist. LEXIS 63433, at *3
(N.D.N.Y. 2012) (“Because, however, the Court set a specific, stated deadline, Rule 6(a) is
inapplicable and papers were required to be filed on or before March 31, 2012 regardless of
whether March 31 was a weekend or a holiday.”).

               Accordingly, for the reasons set forth above, Defendants respectfully request the
Court strike Plaintiffs’ untimely Fourth Amended Complaint and dismiss this case with prejudice.
Alternatively, Defendants respectfully request a 14-day extension of time, to February 5, 2024, to
respond to the Fourth Amended Complaint on behalf of Defendants so this Office may adequately
investigate the new allegations made in the Fourth Amended Complaint and prepare a proper
response .

               Defendants thank the Court for its attention and consideration of this request.


                                                             Respectfully submitted,

                                                             /s/_Elisheva L. Rosen__________
                                                             Elisheva L. Rosen
                                                             Assistant Corporation Counsel


cc:    Jo Saint-George (by ECF)
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       Honorable Lois Bloom (by ECF)
       United States Magistrate Judge
